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               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                          TYLER DIVISION


 LOUIE GOHMERT, TYLER BOWYER,
 NANCY COTTLE, JAKE HOFFMAN,                          Civil Action No.
 ANTHONY KERN, JAMES R. LAMON,                      6:20-cv-00660-JDK
 SAM MOORHEAD, ROBERT
 MONTGOMERY, LORAINE
 PELLEGRINO, GREG SAFSTEN, KELLI
 WARD and MICHAEL WARD,                        INTERVENORS’ MICHELE
                                                 LUNDGREN ET.AL.’S
                 Plaintiffs,                    MOTION TO INTERVENE

       v.
                                                     (Election Matter)

 THE HONORABLE MICHAEL R. PENCE,
 VICE PRESIDENT OF THE UNITED
 STATES, IN HIS OFFICIAL CAPACITY.

                 Defendant,

 MICHELE LUNDGREN, MARIAN
 SHERIDAN, MESHAWN MADDOCK,
 MARI-ANN HENRY, AND
 AMY FACCHINELLO, IN THEIR
 OFFICIAL CAPACITY AS
 PRESIDENTIAL ELECTORS,
 REPRESENTING THEIR RESPECTIVE
 STATES.

                     Intervenors.

     INTERVENORS’ MICHELE LUNDGREN ET.AL.’S UNOPPOSED
                   MOTION TO INTERVENE

                               EXHIBIT 1
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               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                          TYLER DIVISION


 LOUIE GOHMERT, TYLER BOWYER,
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 MONTGOMERY, LORAINE
 PELLEGRINO, GREG SAFSTEN, KELLI
 WARD and MICHAEL WARD,                       INTERVENORS’ MICHELE
                                                LUNDGREN ET.AL.’S
                 Plaintiffs,                     COMPLAINT FOR
                                                   EXPEDITED
       v.                                       DECLARATORY AND
                                              EMERGENCY INJUNCTIVE
                                                     RELIEF
 THE HONORABLE MICHAEL R. PENCE,
 VICE PRESIDENT OF THE UNITED
 STATES, IN HIS OFFICIAL CAPACITY.                   (Election Matter)

                 Defendant,

 MICHELE LUNDGREN, MARIAN
 SHERIDAN, MESHAWN MADDOCK,
 MARI-ANN HENRY, AND
 AMY FACCHINELLO, IN THEIR
 OFFICIAL CAPACITY AS
 PRESIDENTIAL ELECTORS,
 REPRESENTING THEIR RESPECTIVE
 STATES.

                     Intervenors.

      INTERVENORS’ MICHELE LUNDGREN ET.AL.’S ORIGINAL
                                COMPLAINT

TO THE HONORABLE COURT:
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      Michele Lundgren, Marian Sheridan, Meshawn Maddock


 Mari-Ann Henry and Amy Facchinello in their official capacities as Presidential

Electors for the State of Michigan (hereinafter referred to as the “Michigan

Electors”) complain of the Honorable Michael R. Pence, Vice President of the

United States, in his official capacity, and say:


                           NATURE OF THE ACTION

      1.     This civil action seeks an expedited declaratory judgment finding that

the elector dispute resolution provisions in Section 15 of the Electoral Count Act, 3

U.S.C. §§ 5 and 15, are unconstitutional because these provisions violate the Electors

Clause and the Twelfth Amendment of the U.S. Constitution. U.S. CONST. art. II,

§ 1, cl. 1 & Amend. XII. Intervenors also request emergency injunctive relief

required to effectuate the requested declaratory judgment.

      2.     These provisions of Section 15 of the Electoral Count Act are

unconstitutional insofar as they establish procedures for determining which of two

or more competing slates of Presidential Electors for a given State are to be counted

in the Electoral College, or how objections to a proffered slate are adjudicated, that

violate the Twelfth Amendment. This violation occurs because the Electoral Count

Act directs the Defendant, Vice President Michael R. Pence, in his capacity as

President of the Senate and Presiding Officer over the January 6, 2021 Joint Session


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of Congress: (1) to count the electoral votes for a State that have been appointed in

violation of the Electors Clause; (2) limits or eliminates his exclusive authority and

sole discretion under the Twelfth Amendment to determine which slates of electors

for a State, or neither, may be counted; and (3) replaces the Twelfth Amendment’s

dispute resolution procedure – under which the House of Representatives has sole

authority to choose the President.

      3.      Section 15 of the Electoral Count Act unconstitutionally violates the

Electors Clause by usurping the exclusive and plenary authority of State Legislatures

to determine the manner of appointing Presidential Electors, and instead gives that

authority to the State’s Executive. Similarly, 3 USC § 5 makes clear that the

Presidential electors of a state and their appointment by the State Executive shall be

conclusive.

      4.      This is not an abstract or hypothetical question, but a live “case or

controversy” under Article III that is ripe for a declaratory judgment arising from

the events of December 14, 2020, where the States of Arizona, Michigan, Georgia,

Pennsylvania, Wisconsin (and several others) have appointed two competing slates

of Presidential electors to represent their respective States.

      5.      The Michigan Intervenors include portions of the slate of Republican

Presidential Electors for the State of Michigan. The Michigan Intervenors have cast

their Presidential electoral votes for the State of Michigan for President Donald J.


                                           3
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Trump and Vice-President Michael R. Pence on December 14, 2020, at the Michigan

State Capitol with the permission and endorsement of the Michigan Legislature, i.e.,

at the time, place, and manner required under Michigan state law and the Electoral

Count Act. At the same time, Michigan’s Governor and Secretary of State appointed

a separate and competing slate of electors who cast Michigan’s electoral votes for

former Vice-President Joseph R. Biden, despite the evidence of massive multi-state

electoral fraud committed on Biden’s behalf that changed electoral results in

Michigan, Arizona, Georgia, Pennsylvania, Wisconsin and other states that have also

put forward competing slates of Presidential Electors (collectively, the “Contested

States”).   Collectively, these Contested States have enough electoral votes in

controversy to determine the outcome of the 2020 United States Presidential General

Election.

      6.     On January 6, 2021, when Congress convenes to count the electoral

votes for President and Vice-President, it is believed that Plaintiff United States

House Representative Gohmert will object to the counting of the slate of electors

voting for Biden and to the Biden slates from the Contested States. Rep. Gohmert

is entitled to have his objection determined under the Twelve Amendment, and not

through the unconstitutional impositions of a prior Congress by 3 U.S.C. §§ 5 and

15.




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       7.      United States Senators have also stated that they may object to the

Biden slate of electors from the Contested States.1 United States Senators that object

to the counting of the slate of electors voting for Biden and to the Biden slates from

the Contested States are entitled to have their objection determined under the Twelve

Amendment, and not through the unconstitutional impositions of a prior Congress

by 3 U.S.C. §§ 5 and 15.

       8.      This Intervenor Complaint addresses a matter of urgent national

concern that involves only issues of law – namely, a determination that Sections 5

and 15 of the Electoral Count Act violate the Electors Clause and/or the Twelfth

Amendment of the U.S. Constitution.                   The relevant facts are not in dispute

concerning the existence of a live case or controversy between Plaintiffs and

Intervenors and Defendant, ripeness, standing, and other matters related to the

justiciability of Intervenors’ claims.2


1
 See https://www.forbes.com/sites/jackbrewster/2020/12/17/here-are-the-gop-senators-who
have-hinted-at-defying-mcconnell-by-challenging-election/?sh=506395c34ce3.

2
  The facts relevant to the justiciability of Intervenors’ claims are laid out below and demonstrate
the certainty or near certainty that the unconstitutional provisions in Section 15 of the Electoral
Count Act will be invoked at the January 6, 2021 Joint Session of Congress to choose the next
President, namely: (1) there are competing slates of electors for Michigan and the other Contested
States that have been or will be submitted to the Electoral College; (2) the Contested States
collectively have sufficient (contested) electoral votes to determine the winner of the 2020 General
Election – President Trump or former Vice President Biden; (3) legislators in Michigan and other
Contested States have contested the certification of their State’s electoral votes by State executives,
due to substantial evidence of election fraud that is the subject of ongoing litigation and
investigations; and (4) Senators and Members of the House of Representatives have expressed
their intent to challenge the electors and electoral votes certified by State executives in the
Contested States.

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      9.      Because the requested declaratory judgment will terminate the

controversy arising from the conflict between the Twelfth Amendment and the

Electoral Count Act, and the facts are not in dispute, it is appropriate for this Court

to grant this relief in a summary proceeding without an evidentiary hearing or

discovery. See Notes of Advisory Committee on Federal Rules of Civil Procedure,

Fed. R. Civ. P. 57.

      10.     Accordingly, Intervenors join Plaintiffs’ motion for a speedy summary

proceeding under Rule 57 of the Federal Rules of Civil Procedure (“FRCP”) to grant

the relief requested herein as soon as possible, and for emergency injunctive relief

under Rule 65 thereof consistent with the declaratory judgment requested herein on

that same date.

      11.     Accordingly, Intervenors respectfully request this Court to issue a

declaratory judgment finding that:

            A. Sections 5 and 15 of the Electoral Count Act, 3 U.S.C. §§ 5 and 15, are

               unconstitutional because they violate the Twelfth Amendment, U.S.

               CONST. art. II, § 1, cl. 1 & amend. XII on the face of it; and further

               violate the Electors Clause;

            B. That Vice-President Pence, in his capacity as President of Senate and

               Presiding Officer of the January 6, 2021 Joint Session of Congress

               under the Twelfth Amendment, is subject solely to the requirements of


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            the Twelfth Amendment and may exercise the exclusive authority and

            sole discretion in determining which electoral votes to count for a given

            State, and must ignore and may not rely on any provisions of the

            Electoral Count Act that would limit his exclusive authority and his

            sole discretion to determine the count, which could include votes from

            the slates of Republican electors from the Contested States;

         C. That, with respect to competing slates of electors from the Contested

            States, the Twelfth Amendment contains the exclusive dispute

            resolution mechanisms, namely, that (i) Vice-President Pence

            determines which slate of electors’ votes count, or neither, for that

            State; (ii) how objections from members of Congress to any proffered

            slate of electors is adjudicated; and (iii) if no candidate has a majority

            of 270 elector votes, then the House of Representatives (and only the

            House of Representatives) shall choose the President where “the votes

            [in the House of Representatives] shall be taken by states, the

            representation from each state having one vote,” U.S. CONST. amend.

            XII;

         D. That with respect to the counting of competing slates of electors, the

            alternative dispute resolution procedure or priority rule in 3 U.S.C. §

            15, together with its incorporation of 3 U.S.C. § 5, shall have no force


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               or effect because it nullifies and replaces the Twelfth Amendment rules

               above with an entirely different procedure; and

            E. Issue any other declaratory judgments or findings or injunctive relief

               necessary to support or effectuate the foregoing declaratory judgments.

                          JURISDICTION AND VENUE

      12.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331

which provides, “The district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States.”

      13.     This Court also has subject matter jurisdiction under 28 U.S.C. § 1343

because this action involves a federal election for President of the United States. “A

significant departure from the legislative scheme for appointing Presidential electors

presents a federal constitutional question.” Bush v. Gore, 531 U.S. 98, 113 (2000)

(Rehnquist, C.J., concurring); Smiley v. Holm, 285 U.S. 355, 365 (1932).

      14.     The jurisdiction of the Court to grant declaratory relief is conferred by

28 U.S.C. §§ 2201 and 2202 and by Rule 57, Fed. R. Civ. P., and emergency

injunctive relief by Rule 65, Fed. R. Civ. P.

      15.     Venue is proper because Plaintiff Gohmert resides in Tyler, Texas, he

maintains his primary congressional office in Tyler, and no real property is involved

in the action. 28 U.S.C. § 1391(e)(1).




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                                  THE PARTIES

       16.   Plaintiff Louie Gohmert is a duly elected member of the United States

 House of Representatives for the First Congressional District of Texas.        On

 November 3, 2020 he won re-election of this Congressional seat and plans to attend

 the January 6, 2021 session of Congress. He resides in the City of Tyler, in Smith

 County, Texas.

       17.   Each of the following Plaintiffs is a resident of Arizona, a registered

 Arizona voter and a Republican Party Presidential Elector on behalf of the State of

 Arizona, who voted their competing slate for President and Vice President on

 December 14, 2020 for Donald J. Trump and Michael R. Pence: a) Tyler Bowyer, a

 resident of Maricopa County and a Republican National Committeeman; b) Nancy

 Cottle, a resident of Maricopa County and Second Vice-Chairman of the Maricopa

 County Republican Committee; c) Jake Hoffman, a resident of Maricopa County

 and member-elect of the Arizona House of Representatives; d) Anthony Kern, a

 resident of Maricopa County and an outgoing member of the Arizona House of

 Representatives; e) James R. Lamon, a resident of Maricopa County; f) Samuel

 Moorhead, a resident of Gila County; g) Robert Montgomery, a resident of Cochise

 County and Republican Party Chairman for Cochise County; h) Loraine Pellegrino,

 a resident of Maricopa County; i) Greg Safsten, a resident of Maricopa County and

 Executive Director of the Republican Party of Arizona; j) Kelli Ward, a resident of

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 Mohave County and Chair of the Arizona Republican Party; and k) Michael Ward,

 a resident of Mohave County.

       18.    The above eleven Intervenors constitute the full slate of the Arizona

 Republican party’s nominees for presidential electors (the “Arizona Electors”).

       19.    The Michigan Intervenors are residents of Michigan, registered

 Michigan voters and Republican Party Presidential Electors on behalf of the State of

 Michigan, who voted their competing slate for President and Vice President on

 December 14, 2020 for Donald J. Trump and Michael R. Pence.

       20.    The Defendant is Vice President Michael R. Pence named in his official

 capacity as the Vice President of the United States. The declaratory and injunctive

 relief requested herein applies to his duties as President of the Senate and Presiding

 Officer at the January 6, 2021 Joint Session of Congress carried out pursuant to the

 Electoral Count Act and the Twelfth Amendment.

                             STATEMENT OF FACTS

       21.    The Plaintiffs include a United States Representative from Texas, the

 entire slate of Republican Presidential Electors for the State of Arizona as well as an

 outgoing and incoming member of the Arizona Legislature. On December 14, 2020,

 pursuant to the requirements of applicable state laws and the Electoral Count Act,

 the Arizona Electors, with the knowledge and permission of the Republican-majority

 Arizona Legislature, convened at the Arizona State Capitol, and cast Arizona’s

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 electoral votes for President Donald J. Trump and Vice President Michael R. Pence.3

 On the same date, the Republican Presidential Electors for the States of Georgia,4

 Pennsylvania5 and Wisconsin6 met at their respective State Capitols to cast their

 States’ electoral votes for President Trump and Vice President Pence.

           22.   The Michigan Intervenors include the Republican Presidential Electors

 for the State of Michigan. On December 14, 2020, pursuant to the requirements of

 applicable state laws and the Electoral Count Act, the Michigan Intervenors, with

 the knowledge and permission of the Republican-majority Michigan Legislature,

 convened at the Michigan State Capitol, and cast Michigan’s electoral votes for

 President Donald J. Trump and Vice President Michael R. Pence. Michigan’s

 Republican electors attempted to vote indoors at their State Capitol on December

 14th but were unlawfully denied entrance to the Michigan State Capital by the

 Michigan State Police. Instead, they met on the grounds of the Michigan State




 3
   See GOP Elector Nominees cast votes for Trump in Arizona, Georgia, Pennsylvania, by Dave
 Boyer, The Washington Times, December 14, 2020.
 https://www.washingtontimes.com/news/2020/dec/14/gop-electors-cast-votes-trump-georgia-
 pennsylvania/.
 4
     See id.
 5
     See id.
 6
   See Wisconsin GOP Electors Meet to Cast their own Votes Too Just in Case, by Nick Viviani,
 WMTV, NBC15.com, December 14, 2020, https://www.nbc15.com/2020/12/14/wisconsin-gop-
 electors-meet-to-cast-their-own-votes-too-just-in-case/ last visited December 14, 2020.

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 Capitol and cast their votes for Donald J. Trump as President and Michael R. Pence

 as Vice President.7

        23.     On December 14, 2020, in Arizona and the other States listed above,

 the Democratic Party’s slate of electors convened in their respective State Capitols

 to cast their electoral votes for former Vice President Joseph R. Biden as President

 and Senator Kamala Harris as Vice President. On the same day, Arizona Governor

 Doug Ducey and Arizona Secretary of State Katie Hobbs submitted the Certificate

 of Ascertainment with the Biden electoral votes pursuant to the National Archivist

 pursuant to the Electoral Count Act.8

        24.     Accordingly, there are now competing slates of Republican and

 Democratic electors in five States with Republican majorities in both houses of their

 State Legislatures – Arizona, Georgia, Michigan, Pennsylvania, and Wisconsin (i.e.,

 the Contested States) – that collectively have 73 electoral votes, which are more than

 sufficient to determine the winner of the 2020 General Election.9




 7
  See Michigan Police Block GOP Electors from Entering Capitol, by Jacob Palmieri, the
 Palmieri Report, December 14, 2020, https://thepalmierireport.com/michigan-state-police-block-
 gop-electors-from-entering-capitol/.
 8
  See Democratic Electors Cast Ballots in Arizona for First Time Since 1996, by Nicole Valdes,
 ABC15.com, December 14, 2020, available at: https://www.abc15.com/news/election-
 2020/democratic-electors-cast-ballots-in-arizona-for-first-time-since-1996.
 9
  Republican Presidential Electors in the States of Nevada and New Mexico, which have
 Democrat majority state legislature, also met on December 14, 2020, at their State Capitols to
 cast their votes for President Trump and Vice President Pence.

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        25.    The Arizona Electors, along with Republican Presidential Electors in

 Georgia, Michigan, Pennsylvania, and Wisconsin, took this step as a result of the

 extraordinary events and substantial evidence of election fraud and other clearly

 unlawful and illegal conduct before, during and after the 2020 General Election in

 these States. The Arizona Legislature has conducted legislative hearings into these

 voting fraud allegations, and is actively investigating these matters, including issuing

 subpoenas of Maricopa County, Arizona (which accounts for over 60% of Arizona’s

 population and voters) voting machines for forensic audits.10

        26.    On December 14, 2020, members of the Arizona Legislature passed a

 Joint Resolution in which they: (1) found that the 2020 General Election “was

 marred by irregularities so significant as to render it highly doubtful whether the

 certified result accurately represents the will of the voters;” (2) invoked the Arizona

 Legislature’s authority under the Electors Clause and 5 U.S.C. § 2 to declare the

 2020 General Election a failed election and to directly appoint Arizona’s electors;

 (3) resolved that the Plaintiff Arizona Electors’ “11 electoral votes be accepted for

 … Donald J. Trump or to have all electoral votes nullified completely until a full

 forensic audit can be conducted;” and (4) further resolved “that the United States



 10
   Maricopa County election officials have refused to comply with these subpoenas or to turn
 over voting machines or voting records and have sued to quash the subpoena. Plaintiff Arizona
 Electors have moved to intervene in this Arizona state proceeding. See generally Maricopa Cty.
 v. Fann, Case No. CV2020-016840 (Az. Sup. Ct. Dec. 18, 2020).

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 Congress is not to consider a slate of electors from the State of Arizona until the

 Legislature deems the election to be final and all irregularities resolved.”11

        27.     Public reports have also highlighted wide-spread election fraud in the

 other Contested States that prompted competing Electors’ slates. 12

        28.     Republican Senators and Republican Members of the House of

 Representatives have also expressed their intent to oppose the certified slates of

 electors from the Contested States due to the substantial evidence of election fraud

 in the 2020 General Election. Multiple Senators and House Members have stated

 that they will object to the Biden electors at the January 6, 2021 Joint Session of

 Congress.13 Plaintiff Gohmert will object to the counting of the Arizona electors

 voting for Biden, as well as to the Biden electors from the remaining Contested

 States.

        29.     Also, the Legislatures of, inter alia, Michigan, Georgia, Pennsylvania

 and Wisconsin have conducted extensive hearings and received substantial evidence




 11
   See Ex. A, “A Joint Resolution of the 54th Legislature, State of Arizona, To The 116th Congress,
 Office of the President of the Senate Presiding,” December 14, 2020 (“December 14, 2020 Joint
 Resolution”).
 12
    See The Immaculate Deception, Six Key Dimensions of Election Irregularities, The Navarro Report.
 https://bannonswarroom.com/wp-content/uploads/2020/12/The-Immaculate-Deception-12.15.20-1.pdf
 13
    See, e.g., Dueling Electors and the Upcoming Joint Session of Congress, by Zachary Steiber,
 Epoch Times, Dec. 17, 2020, available at: https://www.theepochtimes.com/explainer-dueling-
 electors-and-the-upcoming-joint-session-of-congress_3622992.html.

                                                   14
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 of clearly unlawful voter fraud, election irregularities and counterfeit ballots cast and

 counted for Joe Biden.

       30.    Based on the foregoing facts, Defendant Vice President Pence, in his

 capacity as President of the Senate and Presiding Officer at the January 6, 2021 Joint

 Session of Congress to select the next President, will be presented with the following

 circumstances: (1) competing slates of electors from the State of Arizona and the

 other Contested States (namely, Georgia, Michigan, Pennsylvania, and Wisconsin)

 (2) that represent sufficient electoral votes (a) if counted, to determine the winner of

 the 2020 General Election, or (b) if not counted, to deny either President Trump or

 former Vice President Biden sufficient votes to win outright; and (3) objections from

 at least one Senator and at least one Member of the House of Representatives to the

 counting of electoral votes from one or more of the Contested States.

       31.    The choice between the Twelfth Amendment and 3 U.S.C. § 15 raises

 important procedural differences. In the incoming 117th Congress, the Republican

 Party has a majority in 27 of the House delegations that would vote under the Twelfth

 Amendment. The Democrat Party has a majority in 20 of those House delegations,

 and the two parties are evenly divided in three of those delegations. By contrast,

 under 3 U.S.C. § 15, Democrats have a ten- or eleven-seat majority in the House,

 depending on the final outcome of the election in New York’s 22nd District.




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       32.    Accordingly, it is the foregoing conflict between the Twelfth

 Amendment of the U.S. Constitution and Section 15 of the Electoral Count Act that

 establish the urgency for this Court to issue a declaratory judgment that Section 15

 of the Electoral Count Act is unconstitutional.

     RELEVANT CONSTITUTIONAL AND STATUTORY PROVISIONS

       33.    Presidential Electors Clause. The U.S. Constitution grants State

 Legislatures the exclusive authority to appoint Presidential Electors:

       Each State shall appoint, in such Manner as the Legislature thereof may
       direct, a number of electors, equal to the whole Number of Senators and
       Representatives to which the State may be entitled in the Congress: but
       no Senator or Representative, or Person holding an Office of Trust or
       Profit under the United States, shall be appointed an Elector. U.S.
       CONST. art. II, § 1 ("Electors Clause").

       34.    The Supreme Court has affirmed that the “power and jurisdiction of the

 state [legislature]” to select electors “is exclusive,” McPherson v. Blacker, 146 U.S.

 1, 11 (1892); this power “cannot be taken from them or modified” by statute or even

 the state constitution,” and “there is no doubt of the right of the legislature to resume

 the power at any time.” Id. at 10 (citations omitted). In Bush v. Gore, 531 U.S. 98

 (2000), the Supreme Court reaffirmed McPherson’s holding that “the state

 legislature’s power to select the manner for appointing electors is plenary,” Bush,

 531 U.S. at 104 (citing McPherson, 146 U.S. at 35), noting that the state legislature

 “may, if it so chooses, select the electors itself,” and that even after deciding to select



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 electors through a statewide election, “can take back the power to appoint electors.”

 Id. (citation omitted).

     35.      The Twelfth Amendment. The Twelfth Amendment sets forth the

 procedures for counting electoral votes and for resolving disputes over whether and

 which electoral votes may be counted for a State. The first section describes the

 meeting of the Electoral College and the procedures up to the casting of the electoral

 votes by the Presidential Electors in their respective states, which occurred on

 December 14, 2020, with respect to the 2020 General Election:

       The electors shall meet in their respective states and vote by ballot for
       President and Vice-President, one of whom, at least, shall not be an
       inhabitant of the same state with themselves; they shall name in their
       ballots the person voted for as President, and in distinct ballots the
       person voted for as Vice-President, and they shall make distinct lists of
       all persons voted for as President, and of all persons voted for as Vice-
       President, and of the number of votes for each, which lists they shall
       sign and certify, and transmit sealed to the seat of the government of
       the United States, directed to the President of the Senate.

 U.S. CONST. amend. XII.

     36.      The second section describes how Defendant Vice President Pence, in

 his role as President of the Senate and Presiding Officer for the January 6, 2021 Joint

 Session of Congress, shall “count” the electoral votes.

       The President of the Senate shall, in the presence of the Senate and
       House of Representatives, open all the certificates and the votes shall
       then be counted[.]

 U.S. CONST. amend. XII.



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      37.       Under the Twelfth Amendment, Defendant Pence alone has the

 exclusive authority and sole discretion to open and permit the counting of the

 electoral votes for a given state, and where there are competing slates of electors, or

 where there is objection to any single slate of electors, to determine which electors’

 votes, or whether none, shall be counted. Notably, neither the Twelfth Amendment

 nor the Electoral Count Act, provides any mechanism for judicial review of the

 Presiding Officer’s determinations.14 Instead, the Twelfth Amendment and the

 Electoral Count Act adopt different procedures for the President of the Senate

 (Twelfth Amendment) or both Houses of Congress (Electoral Count Act) to resolve

 any such disputes and the authority for the final determinations, in the event of

 disagreement, to different parties; namely, the Electoral Count Act gives it to the

 Executive of the State; while the Twelfth Amendment vests sole authority with the

 Vice President.

      38.       The third section of the Twelfth Amendment sets forth the procedures

 for selecting the President (solely) by the House of Representatives, in the event that


 14
   See, e.g., Nathan L. Colvin & Edward B. Foley, The Twelfth Amendment: A Constitutional
 Ticking Time Bomb, U. of Miami L. Rev. 64:475, 526 (2010) (discussing reviews of the Electoral
 Count Act’s (“ECA”) legislative history and concluding that, “[o]ne of the more thorough reviews
 of the legislative history of the ECA reveals that Congress considered giving the Court some role
 in the process but rejected the idea every time, and it was clear that Congress did not think the
 Court had a constitutional role nor did it believe that the Court should have any jurisdiction at all.”
 Plaintiffs agree that resolution of disputes before Congress, arising on January 6, 2021, over
 competing slates of electors, or objections to any slate of electors, are matters outside the purview
 of federal courts; but the federal courts must determine whether the ECA is unconstitutional. This
 position is fully consistent with the declaratory judgment requested herein.

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 no candidate has received a majority of electoral votes counted by the President of

 the Senate.

       The person having the greatest number of votes for President, shall be
       the President, if such number be a majority of the whole number of
       electors appointed; and if no person have such majority, then from the
       persons having the highest numbers not exceeding three on the list of
       those voted for as President, the House of Representatives shall choose
       immediately, by ballot, the President. But in choosing the President, the
       votes shall be taken by states, the representation from each state having
       one vote; a quorum for this purpose shall consist of a member or
       members from two-thirds of the states, and a majority of all the states
       shall be necessary to a choice. And if the House of Representatives
       shall not choose a President whenever the right of choice shall devolve
       upon them, before the fourth day of March next following, then the
       Vice-President shall act as President, as in the case of the death or other
       constitutional disability of the President.

 U.S. CONST. amend. XII (emphasis added).

     39.       There are four key features of this Twelfth Amendment procedure that

 should be noted when comparing it with the Electoral Count Act’s procedures: (1)

 the President is to be chosen solely by the House of Representatives, with no role

 for the Senate; (2) votes are taken by State (with one vote per State), rather than by

 individual House members; (3) the President is deemed the candidate that receives

 the majority of States’ votes, rather than a majority of individual House members’

 votes; and (4) there are no other restrictions on this majority rule provision; in

 particular, no “tie breaker” or priority rules based on the manner or State authority

 that originally appointed the electors on December 14, 2020 as is the case under the



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 Electoral Count Act (which gives priority to electors’ certified by the State’s

 executive).

     40.       The Electoral Count Act. The Electoral Count Act of 1887, as

 subsequently amended, includes a number of provisions that are in direct conflict

 with the text of the Electors Clause and the Twelfth Amendment.

     41.       Sections 5 and 15 of the Electoral Count Act adopt an entirely different

 set of procedures for the counting of electoral votes, for addressing situations where

 one candidate does not receive a majority, and for resolving disputes. Sections 16

 to 18 of the Electoral Count Act provide additional procedural rules governing the

 Joint Session of Congress (to be held January 6, 2021 for the 2020 General Election).

     42.       The first part of Section 15 is consistent with the Twelfth Amendment

 insofar as it provides that “the President of the Senate shall be their presiding officer”

 and that “all the certificates and papers purporting to be certificates of the electoral

 votes” are to be “opened by the President of the Senate.” 3 U.S.C. § 15. However,

 Section 15 diverges from the Twelfth Amendment by adopting procedures for the

 President of the Senate to “call for objections,” and if there are objections made in

 writing by one Senator and one Member of the House of Representatives, then this

 shall trigger a dispute-resolution procedure found nowhere in the Twelfth

 Amendment.




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      43.       The Section 15’s dispute resolution procedures are lengthy and

 reproduced in their entirety below:

        When all objections so made to any vote or paper from a State shall
        have been received and read, the Senate shall thereupon withdraw, and
        such objections shall be submitted to the Senate for its decision; and the
        Speaker of the House of Representatives shall, in like manner, submit
        such objections to the House of Representatives for its decision; and no
        electoral vote or votes from any State which shall have been regularly
        given by electors whose appointment has been lawfully certified to
        according to section 6 of this title [3 USCS § 6]15 from which but one
        return has been received shall be rejected, but the two Houses
        concurrently may reject the vote or votes when they agree that such
        vote or votes have not been so regularly given by electors whose
        appointment has been so certified. If more than one return or paper
        purporting to be a return from a State shall have been received by the
        President of the Senate, those votes, and those only, shall be counted
        which shall have been regularly given by the electors who are shown
        by the determination mentioned in section 5 [3 USCS § 5] of this title
        to have been appointed, if the determination in said section provided
        for shall have been made, or by such successors or substitutes, in case
        of a vacancy in the board of electors so ascertained, as have been
        appointed to fill such vacancy in the mode provided by the laws of the
        State; but in case there shall arise the question which of two or more of
        such State authorities determining what electors have been appointed,
        as mentioned in section 5 of this title [3 USCS § 5], is the lawful
        tribunal of such State, the votes regularly given of those electors, and
        those only, of such State shall be counted whose title as electors the two
        Houses, acting separately, shall concurrently decide is supported by the
        decision of such State so authorized by its law; and in such case of more
        than one return or paper purporting to be a return from a State, if there
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   3 U.S.C. § 6 is inconsistent with the Electors Clause—which provides that electors “shall sign
 and certify, and transmit sealed to the seat of the government of the United States” the results of
 their vote, U.S. Const. art. II, § 1, cl. 2-3—because § 6 relies on state executives to forward the
 results of the electors’ vote to the Archivist for delivery to Congress. 3 U.S.C. § 6. Although the
 means of delivery are arguably inconsequential, the Constitution vests state executives with no
 role whatsoever in the process of electing a President. A state executive lends no official
 imprimatur to a given slate of electors under the Constitution.


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       shall have been no such determination of the question in the State
       aforesaid, then those votes, and those only, shall be counted which the
       two Houses shall concurrently decide were cast by lawful electors
       appointed in accordance with the laws of the State, unless the two
       Houses, acting separately, shall concurrently decide such votes not to
       be the lawful votes of the legally appointed electors of such State. But
       if the two Houses shall disagree in respect of the counting of such votes,
       then, and in that case, the votes of the electors whose appointment shall
       have been certified by the executive of the State, under the seal thereof,
       shall be counted. When the two Houses have voted, they shall
       immediately again meet, and the presiding officer shall then announce
       the decision of the questions submitted. No votes or papers from any
       other State shall be acted upon until the objections previously made to
       the votes or papers from any State shall have been finally disposed of.

 3 U.S.C. § 15 (emphasis added).

     44.      First, the Electoral Count Act submits disputes over the “count” of

 electoral votes to both the House of Representatives and to the Senate. The Twelfth

 Amendment envisages no such role for both Houses of Congress. The President of

 the Senate, and the President of the Senate alone, shall “count” the electoral votes.

 This intent is borne out by a unanimous resolution attached to the final Constitution

 that described the procedures for electing the first President (i.e., for a time when

 there would not already be a Vice President), stating in relevant part “that the

 Senators should appoint a President of the Senate, for the sole Purpose of receiving,

 opening and counting the Votes for President.” 2 M. Farrand, RECORDS OF THE

 FEDERAL CONVENTION OF 1787, at 666 (1911). For all subsequent elections, when

 there would be a Vice President to act as President of the Senate, the Constitution

 vests the opening and counting in the Vice President.

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     45.      Second, the Electoral Count Act gives both the House of

 Representatives and the Senate the power to vote, or “decide,” which of two or more

 competing slates of electors shall be counted, and it requires the concurrence of both

 to “count” the electoral votes for one of the competing slates of electors.

     46.      Under the Twelfth Amendment, the President of the Senate has the sole

 authority to count votes in the first instance, and then the House may do so only in

 the event that no candidate receives a majority counted by the President of the

 Senate. There is no role for the Senate to participate in choosing the President.

     47.      Third, the Electoral Count Act eliminates entirely the unique

 mechanism by which the House of Representatives under the Twelve Amendment

 is to choose the President, namely, where “the votes shall be taken by states, the

 representation for each state having one vote.” U.S. CONST. amend. XII. The

 Electoral Count Act is silent on how the House of Representatives is to “decide”

 which electoral votes were cast by lawful electors.

     48.      Fourth, the Electoral Count Act adopts a priority rule, or “tie breaker,”

 “if the two Houses shall disagree in respect of counting of such votes,” in which case

 “the votes of the electors whose appointment shall have been certified by the

 executive of the State … shall be counted.” This provision not only conflicts with

 the President of the Senate’s exclusive authority and sole discretion under the

 Twelfth Amendment to decide which electoral votes to count, but also with the State


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 Legislature’s exclusive and plenary authority under the Electors Clause to appoint

 the Presidential Electors for their State.

     49.      The Electoral Count Act is unconstitutional because it exceeds the

 power of Congress to enact. It is well settled that “one legislature may not bind the

 legislative authority of its successors,” United States v. Winstar Corp., 518 U.S. 839,

 872 (1996), which is a foundational and “centuries-old concept,” id., that traces to

 Blackstone’s maxim that “Acts of parliament derogatory from the power of

 subsequent parliaments bind not.” Id. (quoting 1 WILLIAM BLACKSTONE,

 COMMENTARIES *90). “There is no constitutionally prescribed method by which

 one Congress may require a future Congress to interpret or discharge a constitutional

 responsibility in any particular way.” Laurence H. Tribe, Erog v. Hsub and Its

 Disguises: Freeing Bush v. Gore from Its Hall of Mirrors, 115 HARV. L. REV. 170,

 267 n.388 (2001).

     50.      The Electoral Count Act also violates the Presentment Clause by

 purporting to create a type of bicameral order, resolution, or vote that is not presented

 to the President. See U.S. CONST. art. I, § 7, cl. 3 (“Every Order, Resolution, or

 Vote, to Which the Concurrence of the Senate and House of Representatives may be

 necessary (except on a question of Adjournment) shall be presented to the President

 of the United States; and before the Same shall take Effect, shall be approved by

 him, or being disapproved by him, shall be repassed by two thirds of the Senate and


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 House of Representatives, according to the Rules and Limitations prescribed in the

 Case of a Bill.”)

     51.      The House and Senate cannot resolve the issues that the Electoral Count

 Act asks them to resolve without either a supermajority in both houses or

 presentment. The Electoral Count Act similarly restricts the authority of the House

 of Representatives and the Senate to control their internal discretion and procedures

 pursuant to Article I, Section 5 which provides that “[e]ach House may determine

 the Rules of its Proceedings …” U.S. CONST. art. I, § 5, cl. 2.

     52.      Further, the Electoral Count Act improperly delegates tie-breaking

 authority to State executives (who have no agency under the Electors Clause or

 election amendments) when a State presents competing slates that Congress cannot

 resolve, or when an objection is presented to a particular slate of electors.

     53.      The Electoral Count Act also violates the non-delegation doctrine, the

 separation-of-powers and anti-entrenchment doctrines. See generally Chris Land &

 David Schultz, On the Unenforceability of the Electoral Count Act, 13 Rutgers J.L.

 & Pub. Policy 340, 364-377 (2016).

                     JUSTICIABILITY AND JURISDICTION

     54.      This Court Can Grant Declaratory Judgment in a Summary

 Proceeding. This Court has the authority to enter a declaratory judgment and to

 provide injunctive relief pursuant to Rules 57 and 65 of the Federal Rules of Civil

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 Procedure and 28 U.S.C. §§ 2201 and 2202. The court may order a speedy hearing

 of a declaratory judgment action. Fed. Rules Civ. Proc. R. 57, Advisory Committee

 Notes.    A declaratory judgment is appropriate when it will “terminate the

 controversy” giving rise to the proceeding. Id. Inasmuch as it often involves only

 an issue of law on undisputed or relatively undisputed facts, it operates frequently

 as a summary proceeding, justifying docketing the case for early hearing as on a

 motion. Id.

     55.       As described above, Intervenors’ claims involve legal issues only –

 specifically, whether the Electoral Count Act violates the Twelfth Amendment of

 the U.S. Constitution – that do not require this court to resolve any disputed factual

 issues.

     56.       Moreover, the factual issues related to the justiciability of Intervenors’

 claims are not in dispute. To assist this Court to grant the relief on the expedited

 basis requested herein, Intervenors address a number of likely objections to this

 Court’s jurisdiction and the justiciability of Intervenors’ claims that may be raised

 by Defendant.

     57.       Intervenors Have Standing. The Michigan Intervenors have standing

 as Presidential Electors for the State of Michigan.

     58.       Prior to December 14, 2020, Plaintiff Arizona Electors had standing

 under the Electors Clause as candidates for the office of Presidential Elector because,


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 under Arizona law, a vote cast for the Republican Party’s President and Vice

 President is cast for the Republican Presidential Electors. See ARS § 16-212.

 Similarly, Intervenors had standing under the Electors Clause as candidates for the

 office of Presidential Elector because, under their State’s law, a vote cast for the

 Republican Party’s President and Vice President is cast for the Republican

 Presidential Electors Accordingly, Plaintiff Arizona Electors and Intervenors, like

 other candidates for office, “have a cognizable interest in ensuring that the final vote

 tally reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete

 and particularized injury to candidates such as the Electors.” Carson v. Simon, 978

 F.3d 1051, 1057 (8th Cir. 2020) (affirming that Presidential Electors have Article III

 and prudential standing under Electors Clause). See also Wood v. Raffensperger,

 No. 20-14418, 2020 WL 7094866, *10 (11th Cir. Dec. 5, 2020) (affirming that if

 Plaintiff voter had been a candidate for office “he could assert a personal, distinct

 injury” required for standing); Trump v. Wis. Elections Comm’n, No. 20-cv-1785,

 2020 U.S. Dist. LEXIS 233765 at *26 (E.D. Wis. Dec. 12, 2020) (President Trump,

 “as candidate for election, has a concrete particularized interest in the actual results

 of the election.”).

     59.      But for the alleged wrongful conduct of Arizona executive branch and

 Maricopa County officials under color of law, by certifying a fraudulently produced

 election result in Mr. Biden’s favor, the Plaintiff Arizona Electors would have been


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 certified as the presidential electors for Arizona, and Arizona’s Governor and

 Secretary of State would have transmitted uncontested votes for Donald J. Trump

 and Michael R. Pence to the Electoral College. The certification and transmission

 of a competing slate of Biden electors has resulted in a unique injury that only

 Plaintiff Arizona Electors could suffer, namely, having a competing slate of electors

 take their place and their votes in the Electoral College.

     60.      Likewise, but for the alleged wrongful conduct of the executive

 branches and the action of select County officials in their respective States under

 color of law, by certifying a fraudulently produced election result in Mr. Biden’s

 favor, the Intervenors would have been certified as the Presidential Electors for their

 respective States, and their respective State’s Governor and Secretary of State would

 have transmitted uncontested votes for Donald J. Trump and Michael R. Pence to

 the Electoral College. The certification and transmission of a competing slate of

 Biden electors has resulted in a unique injury that only Plaintiff Arizona Electors

 and Intervenors could suffer, namely, having a competing slate of electors take their

 place and their votes in the Electoral College.

     61.      The upcoming January 6, 2021 Joint Session of Congress provides

 further grounds of standing for the requested declaratory judgment that the Electoral

 Count Act is unconstitutional. Then, Intervenors are certain to suffer an injury-in-

 fact caused by Defendant Vice President Pence, acting as Presiding Officer, if


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 Defendant ignores the Twelfth Amendment and instead follows the procedures in

 Section 15 of the Electoral Count Act to resolve the dispute over which slate of

 Contested State electors is to be counted.

     62.      The Twelfth Amendment gives Defendant exclusive authority and sole

 discretion as to which set of electors to count, or not to count any set of electors; if

 no candidate receives a majority of electoral votes, then the President is to be chosen

 by the House, where “the votes shall be taken by States, the representation from each

 state having one vote.” U.S. CONST. amend. XII. If Defendant Pence instead

 follows the procedures in Section 15 of the Electoral Count Act, Intervenors’

 electoral votes will not be counted because (a) the Democratic majority House of

 Representatives will not “decide” to count the electoral votes of Intervenor

 Republican electors; and (b) either the Senate will concur with the House not to

 count their votes, or the Senate will not concur, in which case, the electoral votes

 cast by Biden’s electors will be counted because the Biden slate of electors was

 certified by Intervenors’ respective State’s executives.

     63.      It is sufficient for the purposes of declaratory judgment that the injury

 is threatened. The declaratory and injunctive relief requested by Intervenors “may

 be made before actual completion of the injury-in-fact required for Article III

 standing,” namely, the application of Section 15 of the Electoral Count Act, rather

 than the Twelfth Amendment to resolve disputes over which of two competing slates


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 of electors to count “if the plaintiff can show an actual present harm or significant

 possibility of future harm to demonstrate the need for pre-enforcement review.” 10

 FED. PROC. L. ED. § 23.26 (“Standing to Seek Declaratory Judgment”) (citations

 omitted).

     64.      Intervenors have demonstrated above that this injury-in-fact is to occur

 at the January 6, 2021 Joint Session of Congress, and they seek the requested

 declaratory and injunctive relief “only in the last resort, and as a necessity in the

 determination of a vital controversy.” Id.

     65.      Intervenors Present a Live “Case or Controversy.” Intervenors’

 claims present a live “case or controversy” with the Defendant, rather than

 hypothetical or abstract dispute, that can be litigated and decided by this Court

 through the requested declaratory and injunctive relief. Here there is a clear threat

 of the application of an unconstitutional statute, Section 15 of the Electoral Count

 Act, which is sufficient to establish the requisite case or controversy. See, e.g.,

 Navegar, Inc. v. U.S., 103 F.3d 994, 998 (D.C. Cir. 1997) (“the threat of prosecution

 provides the foundation of justiciability as a constitutional and prudential matter,

 and the Declaratory Judgments Act provides the mechanism for seeking pre-

 enforcement review in federal court.”).

     66.      First, the events of December 14, 2020, gave rise to two competing

 slates of electors for the State of Arizona and the other Contested States: the Plaintiff


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 Arizona Electors, supported by Arizona State legislators (as evidenced by the

 December 14, 2020 Joint Resolution and the participation of Arizona legislator

 Intervenors), who cast their electoral votes for President Trump and Vice President

 Pence, and one certified by the Arizona state executives who cast their votes for

 former Vice President Biden and Senator Harris. Second, the text of the Twelfth

 Amendment of the Constitution expressly commits to the Defendant Vice President

 Pence, acting as the President of the Senate and Presiding Officer for the January 6,

 2021 Joint Session of Congress, the authority and discretion to “count” electoral

 votes, i.e., deciding in his sole discretion as to which one of the two, or neither, set

 of electoral votes shall be counted. The Electoral Count Act similarly designates

 Defendant as the Presiding Officer responsible for opening and counting electoral

 votes, but sets forth a different set of procedures, inconsistent with the Twelfth

 Amendment, for deciding which of two or more competing slates of electors and

 electoral votes, or neither, shall be counted.

     67.      Accordingly, a controversy presently exists due to: (1) the existence of

 competing slates of electors for Arizona and the other Contested States, and (2)

 distinct and inconsistent procedures under the Twelfth Amendment and the Electoral

 Count Act to determine which slate of electors and their electoral votes, or neither,

 shall be counted in choosing the next President. Further, this controversy must be

 resolved at the January 6, 2021 Joint Session of Congress. Finally, the Constitution


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 expressly designates Defendant Pence as the individual who decides which set of

 electoral votes, or neither, to count, and the requested declaratory judgment that the

 procedures under Electoral Count Act are unconstitutional is necessary to ensure that

 Defendant Pence counts electoral votes in a manner consistent with the Twelfth

 Amendment of the U.S. Constitution.

     68.      The injuries that Intervenors assert affect the procedure by which the

 status of their votes will be considered, which lowers the thresholds for immediacy

 and redressability under this Circuit’s and the Supreme Court’s precedents. Nat’l

 Treasury Employees Union v. U.S., 101 F.3d 1423, 1428-29 (D.C. Cir. 1996); Lujan

 v. Defenders of Wildlife, 504 U.S. 555, 571-72 & n.7 (1992). Similarly, a plaintiff

 with concrete injury can invoke Constitution’s structural protections of liberty. Bond

 v. United States, 564 U.S. 211, 222-23 (2011).

     69.      Intervenors’ Claims Are Ripe for Adjudication. Intervenors’ claims

 are ripe for the same reasons that they present a live “case or controversy” within

 the meaning of Article III. “[T]he ripeness doctrine seeks to separate matters that are

 premature for review because the injury is speculative and may never occur from

 those cases that are appropriate for federal court action.” Roark v. Hardee LP v. City

 of Austin, 522 F.3d 533, 544 n.12 (5th Cir. 2008) (quoting ERWIN

 CHEMERINSEY, FEDERAL JURISDICTION § 2.4.18 (5th Ed. 2007)).                         As

 explained above, the facts underlying the justiciability of Intervenors’ claims are not


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 in dispute. Further, it is certain or nearly certain that Intervenors will suffer an

 injury-in-fact at the January 6, 2021 Joint Session of Congress, if Defendant Pence

 disregards the exclusive authority and sole discretion granted to him under the

 Twelfth Amendment to “count” electoral votes, and instead follows the conflicting

 and unconstitutional procedures in Section 15 of the Electoral Count Act, pursuant

 to which Intervenors’ electoral votes will be disregarded in favor of the competing

 electors for the State of Arizona.

     70.      Intervenors’ Claims Are Not Moot. Intervenors seek prospective

 declaratory judgment that portions of the Electoral Count Act are unconstitutional

 and injunctive relief prohibiting Defendant from following the procedures in Section

 15 thereof that authorize the House and Senate jointly to resolve disputes regarding

 competing slates of electors. This prospective relief would apply to Defendants’

 future actions at the January 6, 2021 Joint Session of Congress. The requested relief

 thus is not moot because it is prospective and because it addresses an

 unconstitutional “ongoing policy” embodied in the Electoral Count Act that is likely

 to be repeated and will evade review if the requested relief is not granted. Del Monte

 Fresh Produce v. U.S., 570 F.3d 316, 321-22 (D.C. Cir. 2009).




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                                       COUNT I

    DEFENDANT WILL NECESSARILY VIOLATE THE TWELFTH
    AMENDMENT AND THE ELECTORS CLAUSE OF THE UNITED
 STATES CONSTITUTION IF HE FOLLOWS THE ELECTORAL COUNT
                           ACT.

     71.      Intervenors reallege all preceding paragraphs as if fully set forth

 herein.

     72.      The Electors Clause states that “[e]ach State shall appoint, in such

 Manner as the Legislature thereof may direct, a Number of Electors” for President

 and Vice President. U.S. Const. art. II, §1, cl. 2 (emphasis added).

     73.      The Twelfth Amendment of the U.S. Constitution gives Defendant

 Vice President, as President of the Senate and the Presiding Officer of January 6,

 2021 Joint Session of Congress, the exclusive authority and sole discretion to

 “count” the electoral votes for President, as well as the authority to determine which

 of two or more competing slates of electors for a State, or neither, may be counted,

 or how objections to any single slate of electors is resolved. In the event no candidate

 receives a majority of the electoral votes, then the House of Representatives shall

 have sole authority to choose the President where “the votes shall be taken by states,

 the representation from each state having one vote.” U.S. CONST. amend. XII.

     74.      Section 15 of the Electoral Count Act replaces the procedures set forth

 in the Twelfth Amendment with a different and inconsistent set of decision making

 and dispute resolution procedures. As detailed above, these provisions of Section

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 15 of the Electoral Count Act are unconstitutional insofar as they require Defendant:

 (1) to count the electoral votes for a State that have been appointed in violation of

 the Electors Clause; (2) limits or eliminates his exclusive authority and sole

 discretion under the Twelfth Amendment to determine which slates of electors for a

 State, or neither, may be counted; and (3) replaces the Twelfth Amendment’s dispute

 resolution procedure which provides for the House of Representatives to choose the

 President under a procedure where “the votes shall be taken by states, the

 representation from each state having one vote” – with an entirely different

 procedure in which the House and Senate each separately “decide” which slate is to

 be counted, and in the event of a disagreement, then only “the votes of the electors

 whose appointment shall have been certified by the executive of the State … shall

 be counted.” 3 U.S.C. § 15.

     75.      Section 15 of the Electoral Count Act also violates the Electors Clause

 by usurping the exclusive and plenary authority of State Legislatures to determine

 the manner of appointing Presidential Electors and gives that authority instead to the

 State’s Executive.

     76.      Intervenors incorporate into their Complaint the claims, facts,

 allegations and causes of action complained about and as contained in Plaintiffs’

 Original Complaint filed herein.




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                              PRAYER FOR RELIEF

     77.     Accordingly, Intervenors respectfully request that this Court issue a

 judgment that:

           A. Declares that Section 15 of the Electoral Count Act, 3 U.S.C. §§5 and

              15, is unconstitutional because it violates the Twelfth Amendment on

              its face, Amend. XII, Constitution;

           B. Declares that Section 15 of the Electoral Count Act, 3 U.S.C. §§5 and

              15, is unconstitutional because it violates the Electors Clause. U.S.

              CONST. art. II, § 1, cl. 1;

           C. Declares that Vice-President Pence, in his capacity as President of

              Senate and Presiding Officer of the January 6, 2021 Joint Session of

              Congress, is subject solely to the requirements of the Twelfth

              Amendment and may exercise the exclusive authority and sole

              discretion in determining which electoral votes to count for a given

              State;

           D. Enjoins reliance on any provisions of the Electoral Count Act that

              would limit Defendant’s exclusive authority and his sole discretion to

              determine which of two or more competing slates of electors’ votes

              are to be counted for President;



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          E. Declares that, with respect to competing slates of electors from the

             State of Arizona or other Contested States, or with respect to

             objection to any single slate of electors, the Twelfth Amendment

             contains the exclusive dispute resolution mechanisms, namely, that (i)

             Vice-President Pence determines which slate of electors’ votes shall

             be counted, or if none be counted, for that State and (ii) if no person

             has a majority, then the House of Representatives (and only the

             House of Representatives) shall choose the President where “the

             votes [in the House of Representatives] shall be taken by states, the

             representation from each state having one vote,” U.S. CONST.

             amend. XII;

          F. Declares that, also with respect to competing slates of electors, the

             alternative dispute resolution procedure or priority rule in 3 U.S.C. §

             15, is null and void insofar as it contradicts and replaces the Twelfth

             Amendment rules above by with an entirely different procedure in

             which the House and Senate each separately “decide” which slate is

             to be counted, and in the event of a disagreement, then only “the

             votes of the electors whose appointment shall have been certified by

             the executive of the State … shall be counted,” 3 U.S.C. § 15;




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          G. Enjoins the Defendant from executing his duties on January 6th during

              the Joint Session of Congress in any manner that is insistent with the

              declaratory relief set forth herein, and

          H. Issue any other declaratory judgments or findings or injunctions

              necessary to support or effectuate the foregoing declaratory

              judgment.


 Intervenors adopt Plaintiffs’ motion for a speedy summary proceeding under FRCP

 Rule 57 to grant the relief requested herein as soon as practicable, and for

 emergency injunctive relief under FRCP Rule 65 thereof consistent with the

 declaratory judgment requested herein on that same date.


                                 Respectfully submitted,

                                 By: /s/ Charles Bundren

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                   CERTIFICATE OF ELECTRONIC FILING

        The undersigned hereby certifies that this document has been filed by
 electronic means through the court's CM/ECF electronic filing system on the date
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             CERTIFICATE OF SERVICE UNDER LOCAL RULE

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                          CERTIFICATE OF SERVICE

        This is to certify that on this 1st day of January 2020 a true and correct copy
 of the foregoing document was served in accordance with the Federal Rules of Civil
 Procedure and the United States District Court for the Eastern District of Texas Local
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 __x__by the Court's CM/ECF Pacer electronic filing System pursuant to FRCP
 5(b)(2)(E) and 5(b)(3), and LOCAL RULE CV-5 (c)&(d),

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 and/or

 ____ by hand delivery service on the date indicated above pursuant to FRCP
 5(b(2)(A) and
 (B).


                                By: /s/ Charles Bundren
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                      CERTIFICATE OF CONFERENCE

       Intervenors’ Counsel has complied with the meet and confer requirements in
 LOCAL RULE CV-7(h). Intervenors counsel, Mr. Bundren, conferred by personal
 telephone call with Lewis Sessions, Esq. December 31, 2020, counsel for Plaintiffs
 and Plaintiffs do not oppose Intervenors motion.

       For Defendant, the personal conference required by LOCAL RULE CV-7(h)
 was conducted on December 31, 2020 with John Coughlan, Esq., Counsel for
 Defendant. Mr. Coughlan stated that Defendant takes no position with respect to
 Intervenors’ motion


                                By: /s/ Charles Bundren
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                                Wm. Charles Bundren, Esq.
                                ATTORNEY FOR INTERVENORS:




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